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UNITED sTATES I)ISTRICT COURT
SOUTHERN I)ISTRICT OF GEORG!A U»S- D'ST_R#CT Coum
AUGUSTA DIVISION S°““‘°"‘ D"*"i°* 01 Georgia

Filed in Opbn Court
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CHANGE OF PLEA IN USA V. REALITY l.ElGI-I WINNEF

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CRIM[NAL NO_ CR117-034 AT AUGUSTA, GEORG]A

 

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WlTH CONSENT OF THE COURT, THE

REALITY LEIGH WINNER

DEFENDANT , HAVING

 

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HEREBY WlTHDRAWS THAT PLEA AND ENTERS A PLEA

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IN THE INDICTMENT.

THIS g é&Dj-\Y OF JUNE

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REALH`"Y LEIGM!NNER DEFENDANT
TO COUNT(S)

  
   

L FOR DEFENDANT
TLEY AND JOHN C. BELL, JR

